   Case 2:05-cr-00334-RSL    Document 196   Filed 08/10/06   Page 1 of 1




                                                  HON. ROBERT S. LASNIK




UNITED STATES OF AMERICA,         )
                                  )     No.   CR05-334RSL
                 Plaintiff,       )
                                  )     ORDER AUTHORIZING
     v.                           )     FOREIGN TRAVEL
                                  )
MANINDER SINGH KHATKAR,           )
                                  )
                 Defendant.       )

     DEFENDANT    MANINDER     SINGH   KHATKAR’s     agreed    motion      to

travel to Surrey BC Canada on August 11, 2006 and return to

the United States on August 13, 2006 is GRANTED.

     Upon his return to the United States the defendant shall

promptly   contact   his    pretrial   services    officer.     All   other

conditions of the defendant’s release shall remain in effect.

                      Dated this 10th       day of August, 2006.




                              S/MARY ALICE THEILER
                              Mary Alice Theiler,
                              U. S. Magistrate Judge
